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Via cm/ecf


                                                     July 13 2022

Honorable John L. Sinatra, Jr.
U.S. District Judge
2 Niagara Square
                                                     Buffalo, NY 14202
                                                     Re:     Klymn v. Monroe County Supreme
                                                     Court, et al., 21-cv-6488 JLS
Dear Judge Sinatra:

On behalf of co-counsel Lindy Korn, Esq., and myself, I write to bring to your attention a recent
decision of the US Court of Appeals for the Second Circuit that we believe provides guidance on
the question of Plaintiff’s claim against Defendants Unified Court System, Office of Court
Administration and Monroe County Supreme Court.

On March 7, 2022, the Court rendered a decision in Felder v. United States Tennis Ass’n, 27 F.
4th 834. At issue was “what a Title VII plaintiff must adequately allege to plead the existence of
an employer-employee relationship pursuant the ‘joint employer’ doctrine.” Id., at 837-838.

The Court held:

               We will therefore find a joint employer relationship when two or
               more entities, according to common law principles, share
               significant control of the same employee. This means that an
               entity other than the employee’s formal employer has power to
               pay an employee’s salary, hire, fire, or otherwise control the
               employee’s daily employment activities, such that we may
               properly conclude that a constructive employer-employee
               relationship exists. Because the exercise of control is the guiding
               indicator, factors indicating a joint-employment relationship may
               vary depending on the case, and any “relevant factor[] may . . . be
               considered so long as [it is] drawn from the common law of
               agency that Reid seeks to synthesize.” We are thus mindful that
               “all of the incidents of the relationship must be assessed and

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                    weighed with no one factor being decisive.

Felder v. United States Tennis Ass'n, 27 F.4th 834, 843-44 (U.S. 2d Cir. 2022) (emphasis in
original) (citing Comm. for Creative Non-Violence v. Reid, 490 US 730 (1989); other citations
omitted).

The Court went on to note: “At the motion to dismiss stage, a plaintiff’s burden to answer this
question is not great. It must only be plausible and not merely speculative, that the USTA, as
Felder’s alleged joint employer, would have exercised significant control over the terms and
conditions of his employment . . . “ Id., at 845.

We believe that the terms and conditions of Ms. Klymn’s employment, including but not limited
to her continued employment with the New York State Courts1 after Defendant Rosenbaum’s
separation from employment, plausibly establish a joint employment relationship.

Thank you for your attention to this matter.

                                                                Very truly yours,
                                                                Anna Marie Richmond
                                                                Anna Marie Richmond
C (via CM/ECF):            M. Crain, Esq.
                           L. Korn, Esq.
                           H. McKay, Esq.
                           P. Morales, Esq.
                           T. O’Brien, Esq.
                           D. Rothenberg, Esq.
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1
    . See Item 17-6, Nomination for Promotion dated 2/21/2020
